     Case 3:22-cv-01981-BEN-WVG Document 1 Filed 12/14/22 PageID.1 Page 1 of 31




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16                         UNITED STATES DISTRICT COURT
17                       SOUTHERN DISTRICT OF CALIFORNIA
18
19    JOEWY GONZALEZ, on behalf of all        Case No.   '22CV1981 BEN WVG
20    others similarly situated,
                                              CLASS ACTION COMPLAINT
21        Plaintiff,
22                                            DEMAND FOR JURY TRIAL
                  v.
23
24    SILVERGATE BANK, SILVERGATE
      CAPITAL CORPORATION, and ALAN J.
25    LANE,
26
          Defendants.
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                                CLASS ACTION COMPLAINT
     Case 3:22-cv-01981-BEN-WVG Document 1 Filed 12/14/22 PageID.2 Page 2 of 31




1          Plaintiff Joewy Gonzalez, on behalf of himself and all others similarly situated,
2    brings this action against Defendants Silvergate Bank, Silvergate Capital Corporation,
3    and Alan J. Lane, and alleges as follows.
4                                       INTRODUCTION
5          1.     Plaintiff invested his savings in cryptocurrency, digital assets purportedly
6    secured by anti-counterfeiting cryptography. Plaintiff entrusted his investments to FTX,
7    a cryptocurrency exchange founded by Samuel Bankman-Fried. FTX promised investors
8    that they could store assets securely as they gained in value, cash them out, or trade them
9    for other assets or financial products. With FTX’s recent collapse, Plaintiff and other
10   FTX investors are unable to recover their investments and face years of uncertainty and
11   catastrophic losses.
12         2.     Bankman-Fried not only ran FTX’s exchange and affiliated companies but
13   also co-founded Alameda Research LLC, a cryptocurrency trading firm. Unlike FTX,
14   which purported to allow investors to store, trade, or cash out their “tokens” and other
15   crypto assets, Alameda executed cryptocurrency trades on its own behalf, including on
16   the FTX platform. Unbeknownst to Plaintiff and the other investors, Alameda and FTX
17   operated as a single criminal enterprise under the control of Bankman-Fried. The new
18   CEO of FTX, who took over after the company declared bankruptcy in November 2022,
19   stated: “Never in my career have I seen such a complete failure of corporate controls and
20   such a complete absence of trustworthy financial information as occurred here.”
21   Deposits, both in fiat currency (i.e., U.S. dollars) and in cryptocurrency, which FTX
22   undertook to store for trading or potential investment, were diverted to and commingled
23   with Alameda’s assets. Alameda used FTX investor funds for a variety of unauthorized
24   purposes, including proprietary, speculative trading on other digital-asset exchanges,
25   funding risky crypto investments, operations, marketing, political contributions, luxury
26   real estate purchases, and funding hundreds of millions of dollars in loans to Bankman-
27   Fried and other FTX executives.
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                                 CLASS ACTION COMPLAINT
     Case 3:22-cv-01981-BEN-WVG Document 1 Filed 12/14/22 PageID.3 Page 3 of 31




1          3.     Silvergate, a publicly traded and federally regulated bank catering to
2    cryptocurrency customers, maintained both FTX and Alameda accounts. It directly aided
3    and abetted FTX’s fraud and breaches of fiduciary duty via first-hand participation in the
4    commingling of funds, improper transfers, and lending out of customer money.
5    Silvergate processed billions in transfers from FTX’s client account at Silvergate to the
6    Alameda accounts. Silvergate also accepted deposits from FTX investors—intended to
7    be stored, traded, or cashed out—that at Bankman-Fried’s direction were wired straight
8    to Alameda bank accounts and misused. Bankman-Fried explained that he “forgot”
9    about the improper transfers until the company imploded, telling a reporter “it looks like
10   people wired $8b to Alameda and ‘oh god we basically forgot about the stub account
11   that corresponded to that so it was never delivered to FTX.’”
12         4.     Silvergate is liable for its role in furthering FTX’s investment fraud and
13   breaches of fiduciary duty and is obligated under common law to make Plaintiff and the
14   other investors whole.
15                                  JURISDICTION AND VENUE
16         5.     This Court has jurisdiction over this action pursuant to 28 U.S.C.
17   § 1332(d)(2)(A), the Class Action Fairness Act, because the matter in controversy
18   exceeds the sum or value of $5,000,000, exclusive of interest and costs, and at least one
19   member of the proposed plaintiff class is a citizen of a State different from a Defendant.
20         6.     The Court has personal jurisdiction over Defendants based on their
21   substantial, continuous and systematic contacts with the State and because Defendants
22   have purposely availed themselves of the benefits and privileges of conducting business
23   activities within the State.
24         7.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) and (c)
25   because Defendants Silvergate Bank and Silvergate Capital are headquartered in this
26   District and a substantial part of the events or omissions giving rise to the claims
27   occurred in the District.
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                                    CLASS ACTION COMPLAINT
     Case 3:22-cv-01981-BEN-WVG Document 1 Filed 12/14/22 PageID.4 Page 4 of 31




1                                            PARTIES
2          A.     Plaintiff
3          8.     Plaintiff Joewy Gonzalez is a citizen and resident of Revere, Massachusetts.
4    Starting in November 2021, Plaintiff placed funds in an FTX account in anticipation of
5    executing cryptocurrency trades, engaging in investment activity. After FTX announced
6    its bankruptcy, Plaintiff attempted to withdraw the cryptocurrency in his FTX account
7    but was unable to do so.
8          B.     Defendants
9          9.     Defendant Silvergate Bank is a California corporation with its principal
10   place of business in La Jolla, California.
11         10.    Chartered by the State of California, Silvergate Bank is overseen by the
12   Federal Reserve Bank of San Francisco; its deposits are guaranteed by the Federal
13   Deposit Insurance Corporation.
14         11.    Silvergate Bank primarily serves the cryptocurrency industry—its
15   customers include cryptocurrency exchanges, institutional investors, and stablecoin
16   issuers, such as Coinbase, Bitstamp, Crypto.com, Kraken, and Gemini.
17         12.    Defendant Silvergate Capital Corporation is a Maryland corporation with its
18   principal place of business in La Jolla, California and the parent of Silvergate Bank
19   (together, “Silvergate”).
20         13.    Defendant Alan J. Lane is President and Chief Executive Officer of
21   Silvergate Capital, Chief Executive Officer of Silvergate Bank and a member of
22   Silvergate Capital’s board of directors. He resides in Temecula, California.
23               OVERVIEW OF RELEVANT BANKING REGULATIONS
24         14.    Silvergate is obligated to comply with the Bank Secrecy Act, 31 U.S.C.
25   § 5311 et seq. (“BSA”), including regulations broadening its anti-money laundering
26   provisions. The Bank Secrecy Anti-Money Laundering Manual promulgated by the
27   Federal Financial Institutions Examination Council (FFIEC Manual) summarizes the
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                                  CLASS ACTION COMPLAINT
     Case 3:22-cv-01981-BEN-WVG Document 1 Filed 12/14/22 PageID.5 Page 5 of 31




1    applicable anti-money laundering compliance program requirements, expectations for
2    risks and risk management, industry sound practices, and examination procedures.
3          15.    Silvergate must maintain procedures that allow it to “form a reasonable
4    belief that it knows the true identity of each customer.” 31 C.F.R. §§ 1020.220(a)(1), (2);
5    12 C.F.R. § 21.21. Silvergate must maintain a customer due diligence program to assist
6    in predicting the types of transactions, dollar volume, and transaction volume each
7    customer is likely to conduct, furnishing a means for the bank to notice unusual or
8    suspicious transactions for each customer. The customer due diligence program allows
9    the bank to know the financial activity of its customers and the ability to predict the type
10   and frequency of transactions in which its customers are likely to engage. Federal
11   guidelines thus require that Silvergate take reasonable steps to “determine the identity of
12   all nominal and beneficial owners of the private banking account” and “determine the
13   source(s) of funds deposited into the private banking account and the purpose and
14   expected use of the account; and . . . review the activity of the account to ensure that the
15   activity is consistent with the information obtained about the source of funds, the stated
16   purpose and the expected use of the account, as needed to guard against money
17   laundering, and to report any suspicious activity.”
18         16.    Customer due diligence programs must be tailored to the risk presented by
19   particular customers, such that the higher the risk presented, the more attention is paid.
20   Where a customer is determined to be high risk, the anti-money laundering guidelines
21   direct federally regulated banks like Silvergate to gather additional information about the
22   customer and its accounts, including determining: (1) purpose of the account; (2) source
23   of funds; (3) proximity of customer’s residence to the bank; and (4) explanations for
24   changes in account activity.
25         17.    Moreover, Silvergate and its personnel must be able to identify and take
26   appropriate action once on notice of any of a series of money laundering “red flags” set
27   forth in the FFIEC Manual. Among these are: (1) funds transfers sent in large, round
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                                    CLASS ACTION COMPLAINT
     Case 3:22-cv-01981-BEN-WVG Document 1 Filed 12/14/22 PageID.6 Page 6 of 31




1    dollar amounts; (2) funds transfer activity occurs to or from a financial institution
2    located in a higher risk jurisdiction distant from the customer’s operations; (3) frequent
3    involvement of multiple jurisdictions or beneficiaries located in higher-risk offshore
4    financial centers; (4) repetitive or unusual funds transfer activity; (5) funds transfers sent
5    or received from the same person to or from different accounts; (6) unusual funds
6    transfers that occur among related accounts or among accounts that involve the same or
7    related principals; (7) transactions inconsistent with the account holder’s business; (8)
8    customer use of a personal account for business purposes; (9) multiple accounts
9    established in various corporate names that lack sufficient business purpose to justify the
10   account complexities; and (10) multiple high-value payments or transfers between shell
11   companies without a legitimate business purpose.
12         18.    In addition, federal law requires Silvergate to conduct “enhanced” due
13   diligence when establishing or maintaining a correspondent account for a financial
14   institution that operates under an offshore license (as FTX did) or is incorporated in a
15   jurisdiction known for failing to cooperate with international anti-money laundering
16   principles (as FTX was, having incorporated in the Bahamas).
17         19.    The FFIEC Manual also identifies “lending activities” and “nondeposit
18   account services,” including for nondeposit investment products, as services requiring
19   enhanced due diligence and carrying a high risk of money laundering because they
20   facilitate a higher degree of anonymity and involve high volumes of currency. Therefore,
21   when investment trading or lending services are being run through the bank, the FFIEC
22   Manual requires heightened due diligence including determining the purpose of the
23   account, ascertaining the source and funding of the capital, identifying account control
24   persons and signatories, scrutinizing the account holders’ business operations, and
25   obtaining adequate explanations for account activities.
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                                  CLASS ACTION COMPLAINT
     Case 3:22-cv-01981-BEN-WVG Document 1 Filed 12/14/22 PageID.7 Page 7 of 31




1                                   STATEMENT OF FACTS
2          A.     The Cryptocurrency Industry
3          20.    Cryptocurrency is a form of digital currency that first came to prominence
4    in 2008, when an author under the pseudonym Satoshi Nakamoto published the
5    whitepaper Bitcoin: A Peer-to-Peer Electronic Cash System. Nakamoto defined
6    cryptocurrency as “an electronic payment system based on cryptographic proof instead
7    of trust, allowing any two willing parties to transact directly with each other without the
8    need for a trusted third party”—i.e., a bank.
9          21.    Cryptocurrency relies on a long list of public addresses, each bearing a
10   unique label consisting of numbers and letters, corresponding to a specific amount of
11   cryptocurrency. The address acts as a public key. The owner of the cryptocurrency holds
12   a private key, which serves as a password to access the account, and allows people to
13   send each other the cryptocurrency.
14         22.    Cryptocurrency ownership is tracked on a public ledger. In the case of
15   Bitcoin, for example, thousands of people who use Bitcoin maintain the ledger. When
16   Bitcoin is sold, the transaction is broadcast to the entire network. Bitcoin miners
17   (computers on the network) compile the transactions as they arrive into a group called a
18   “block.” Once that block becomes official, the block is considered mined. New blocks
19   will then refer to the blocks preceding them, forming a blockchain—the formal record of
20   what transactions the network has agreed upon, and in what order.
21         23.    The process of confirming a block is time- and resource-intensive, and
22   involves the miner repeatedly attempting to generate a small enough number by running
23   an algorithm. If the number is small enough—a setting determined by the Bitcoin
24   software—then the miner has mined a block. If not, the process starts over with a
25   different input. The calculations are so intensive that miners require special hardware,
26   and often are run on large farms of computers that are always on.
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                                  CLASS ACTION COMPLAINT
     Case 3:22-cv-01981-BEN-WVG Document 1 Filed 12/14/22 PageID.8 Page 8 of 31




1          24.     Cryptocurrency has rapidly gained value over the past decade while
2    experiencing high volatility. When Nakamoto’s paper was first published, one Bitcoin—
3    the original cryptocurrency—was worth zero dollars. In November 2021, one Bitcoin
4    was worth more than $67,000. As of the date of this complaint, one Bitcoin is worth over
5    $17,000.
6          25.     Several new forms of cryptocurrency have proliferated since the advent of
7    Bitcoin, many of which have been even more volatile than Bitcoin. FTT, the FTX token,
8    was worth over $77 in September 2021. Now it is worth around $1.40.
9          26.     Today, the primary way people buy the different types of cryptocurrency is
10   through cryptocurrency exchanges. These are companies, like FTX, Coinbase, Kraken,
11   and others, that accept regular currency in exchange for cryptocurrency. In other words,
12   you wire an exchange an amount of money, and the exchange gives you title to a
13   corresponding amount of cryptocurrency.
14         B.      The FTX Exchange
15         27.     The FTX group of companies was founded in 2019 and began as an
16   exchange or marketplace for the trading of cryptocurrency assets. Until declaring
17   bankruptcy, the FTX companies operated a multi-billion-dollar mobile application
18   cryptocurrency investment service that offered trading in various options, futures,
19   swaps, and other digital commodity derivative products. FTX also offered various
20   services related to cryptocurrency trading. For example:
21                FTX maintained a spot market on which FTX customers could trade
22                 cryptocurrency with other FTX customers in exchange for money or other
23                 cryptocurrency;
24                FTX maintained spot-margin trading services, which enabled FTX
25                 customers to borrow against collateral in their FTX accounts and trade or
26                 lend cryptocurrency in their accounts to other FTX customers for purposes
27                 of executing trades; and
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                                  CLASS ACTION COMPLAINT
     Case 3:22-cv-01981-BEN-WVG Document 1 Filed 12/14/22 PageID.9 Page 9 of 31




1                FTX maintained an over-the-counter service that allowed investors to
2                  request quotes for spot cryptocurrency assets and to carry out trades.
3         28.      Customers were able to access the FTX platform through the FTX website,
4    FTX.com, as well as through its popular mobile app. The stated objective of FTX was
5    to build a digital-asset trading platform and exchange to promote a better user
6    experience, customer protection, and innovative financial products.
7         29.      FTX grew rapidly after its founding in 2019. As of 2021, FTX stated that it
8    held approximately $15 billion in assets across its platforms.
9         30.      As it raised money from investors, Bankman-Fried, his agents and affiliates
10   continuously highlighted to the public the safe nature of the platform and its products.
11   FTX touted automated risk mitigation procedures, including a program that calculated a
12   customer’s margin level every 30 seconds and automatically liquidated assets if
13   collateral fell below a certain threshold. Bankman-Fried stated repeatedly that FTX and
14   its customers were protected from others’ losses due to this auto-liquidation program.
15        31.      Bankman-Fried represented that FTX offered “complete transparency about
16   the positions that are held [and] a robust, consistent, risk framework.”
17        32.      Similarly, FTX’s terms of service assured investors they owned and
18   controlled assets they placed on the exchange. Those terms stated unequivocally that
19   “[t]itle to your Digital Assets shall at all times remain with you and shall not transfer to
20   FTX Trading.” The terms further provided that “[n]one of the Digital Assets in your
21   Account are the property of, or shall or may be loaned to, FTX Trading” and that “You
22   control the Digital Assets held in your account. At any time, subject to outages,
23   downtime, and other applicable policies . . . you may withdraw your Digital Assets by
24   sending them to a different blockchain address controlled by you or a third party.”
25        33.      FTX also solicited investments that were purportedly loans to be used on
26   the FTX.com exchange to purchase crypto assets that would generate promised returns.
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                                  CLASS ACTION COMPLAINT
     Case 3:22-cv-01981-BEN-WVG Document 1 Filed 12/14/22 PageID.10 Page 10 of 31




1     Investors purchased FTT tokens (FTX’s proprietary token) on the understanding that
2     FTX, using part of its profits, would buy back the tokens at various times.
3           34.   FTT tokens and other FTX digital assets were not registered with any U.S.
4     jurisdiction or regulatory authority. Unconstrained by U.S. securities law, FTX
5     marketed vaguely described crypto investments as delivering “HIGH RETURNS WITH
6     NO RISK”:
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18          35.   Relatedly, in furtherance of its rapid fundraising, FTX deployed an
19    aggressive, celebrity-fueled marketing campaign, which included well-known sports and
20    entertainment figures such as Tom Brady, Gisele Bundchen, Shaquille O’Neal, Steph
21    Curry, and others. FTX also obtained the naming rights to the Miami Heat’s venue, and
22    formalized a partnership with the Golden State Warriors.
23          C.    Alameda
24          36.   Bankman-Fried founded Alameda Research, LLC (“Alameda”)—a
25    quantitative trading firm specializing in cryptocurrency assets—in 2017, before founding
26    FTX. Alameda initially focused mostly on high frequency arbitrage trading through
27    which the company sought to exploit price differences for the same or similar assets
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                                  CLASS ACTION COMPLAINT
     Case 3:22-cv-01981-BEN-WVG Document 1 Filed 12/14/22 PageID.11 Page 11 of 31




1     across various digital-asset platforms. Later, Alameda undertook other strategies, such as
2     market making, pooling cryptocurrency assets in exchange for interest, volatility trading,
3     and eventually, taking large equity stakes in various digital-asset companies.
4           37.      According to Alameda, within a year of its founding, it had “become the
5     largest liquidity provider and market maker in the [digital] asset space,” and traded
6     “$600 million to 1 billion a day” which it said was “roughly 5% of global volume in
7     digital asset trading.”
8           38.      Bankman-Fried operated as the majority owner of Alameda at all relevant
9     times, and was the CEO of Alameda until fall 2021. Even after that, Bankman-Fried
10    continued to control Alameda, remaining a signatory on its bank accounts and
11    maintaining decision-making authority over all of its trading, investment, and financial
12    decisions.
13          D.       Bankman-Fried Used Alameda to Misappropriate FTX Investor Funds
14          39.      Throughout the period in which FTX was raising investor funds, Bankman-
15    Fried made repeated public statements assuring investors that their FTX assets were safe,
16    tweeting, for example: “Backstopping customer assets should always be primary.
17    Everything else is secondary”; and, “As always, our users’ funds and safety comes first.
18    We will always allow withdrawals (except in cases of suspected money
19    laundering/theft/etc.).”
20          40.      Likewise, Bankman-Fried, individually, and through his agents and
21    employees, made a point of publicly maintaining that there were circuit breakers in place
22    to ensure the separation of Alameda and FTX, and to protect against Alameda’s
23    preferential treatment on the FTX platform. Bankman-Fried’s public statements
24    regarding this purported FTX/Alameda separation include:
25                 To the Wall Street Journal: “There are no parties that have privileged
26                   access”;
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                                    CLASS ACTION COMPLAINT
     Case 3:22-cv-01981-BEN-WVG Document 1 Filed 12/14/22 PageID.12 Page 12 of 31




1                  To Bloomberg: “Alameda is a wholly separate entity” and “We’re at arm’s
2                    length and don’t get any different treatment from other market-makers.”
3           41.      In like vein, during an August 2022 media appearance, Alameda’s CEO
4     described a purported firewall between FTX and Alameda:
5           They’re both owned by Sam, obviously. So ultimately, sort of aligned incentives
6           in that way. We keep them quite separate in terms of day-to-day operations. We
7           definitely have a Chinese wall in terms of information sharing to ensure that no
8           one in Alameda would get customer information from FTX or anything like that,
9           or any sort of special treatment from FTX. They really take that pretty seriously.
10          42.      Even after the FTX bankruptcy, Bankman-Fried claimed to The New York
11    Times that “Alameda is not, like, a company that I monitor day-to-day.” He similarly
12    claimed to New York Magazine that Alameda is “not a company I run. It’s not a
13    company I have run for the last couple years.”
14          43.      In truth, far from “walling off” Alameda from FTX, following its collapse
15    FTX represented to the Bankruptcy Court at the first-day hearing that Bankman-Fried
16    ran this global multibillion-dollar business as a “personal fiefdom.” FTX and Alameda
17    also shared office space, first in Berkeley, California and later in Hong Kong and the
18    Bahamas, as well as sharing key personnel, hardware, technology, and intellectual
19    property. In addition, Bankman-Fried and other senior executives at FTX and Alameda
20    had widespread access to each other’s systems and accounts.
21          44.      Since FTX’s bankruptcy filing, it has come to light that, from the outset of
22    FTX’s operations in 2019, customers deposited billions of dollars, which they thought
23    were going to fund their trading activities, into Silvergate bank accounts that actually
24    were controlled by Alameda.
25          45.      Alameda commingled the FTX funds with its other assets, and in turn used
26    them to finance its trading operations and other Bankman-Fried ventures, including
27    payments to celebrity pitchmen and purchases of luxury real estate.
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                                    CLASS ACTION COMPLAINT
     Case 3:22-cv-01981-BEN-WVG Document 1 Filed 12/14/22 PageID.13 Page 13 of 31




1           46.     Among other investments, Alameda used FTX customer funds to prop up
2     the value of FTX’s own cryptocurrency, the FTT token, which grants holders a discount
3     on trading fees on the FTX exchange. A large percentage of Alameda’s balance sheet
4     was held in FTT tokens.
5           47.     FTX also granted Alameda several unique exceptions that allowed
6     Bankman-Fried to carry out his scheme:
7                  Alameda was exempted from FTX’s auto-liquidation feature, meaning it
8                   was permitted to maintain a negative balance in its account with no
9                   collateral. It was the only account afforded that treatment.
10                 Bankman-Fried directed FTX to increase Alameda’s negative balance cap,
11                  effectively providing it with an uncapped line of credit, through which it
12                  could use other FTX customer funds for its own trading activities. No other
13                  FTX account was granted a similar line of credit.
14          48.     The scheme began to unravel when Alameda became unable to pay debt
15    incurred through billions of dollars in loans that Bankman-Fried caused Alameda to
16    borrow from third-party cryptocurrency lenders to fund his investments and for personal
17    use. Specifically, when the cryptocurrency market began to decline precipitously in
18    2022, several of these lenders demanded repayment from Alameda, and because
19    Alameda had no assets to pay them back, Bankman-Fried caused Alameda to draw on its
20    FTX credit line, resulting in Alameda owing billions of dollars to FTX.
21          E.      The FTX Scheme Collapses
22         49.      The FTX scheme ended in November 2022 when the scale of the fraud
23    became apparent to the market. The chain of events leading to FTX’s swift collapse was
24    set in motion on November 2nd, when CoinDesk, a crypto news website, published an
25    article stating that based on its review of an Alameda balance sheet it had obtained,
26    Alameda held a large position in FTT and other FTX tokens.
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                                   CLASS ACTION COMPLAINT
     Case 3:22-cv-01981-BEN-WVG Document 1 Filed 12/14/22 PageID.14 Page 14 of 31




1           50.    On November 6th, Changpeng “CZ” Zhao, the CEO of Binance, a
2     cryptocurrency trading platform, liquidated $530 million of FTT. Other customers then
3     raced to pull out: over the course of 72 hours investors sought to withdraw an estimated
4     $6 billion from FTX, placing the company under severe financial pressure.
5           51.    After declining by 32%, the price of FTT briefly rallied on November 8th
6     when Bankman-Fried announced that Binance would acquire FTX. But the next day,
7     Binance announced it would not proceed with the transaction, citing its due diligence
8     findings and reports of mishandled customer funds by FTX. The price of FTT
9     plummeted.
10          52.    On November 11th, FTX filed for Chapter 11 bankruptcy and Bankman-
11    Fried resigned as CEO. The bankruptcy filing includes all 130 companies under the
12    FTX umbrella, as well as the trading firm Alameda.
13          53.    John J. Ray, who oversaw Enron following its accounting scandal in 2007,
14    became CEO. After reviewing FTX’s books and records, Ray declared that “never in my
15    career have I seen such an utter failure of corporate controls at every level of an
16    organization, from the lack of financial statements to a complete failure of any internal
17    controls or governance whatsoever.”
18          54.    Ray stated that FTX “failed to implement virtually any of the systems or
19    controls that are necessary for a company that is entrusted with other people’s money”
20    and that the “[c]ash management procedural failures included the absence of an accurate
21    list of bank accounts and account signatories, as well as insufficient attention to the
22    creditworthiness of banking partners around the world.” Ray noted “[t]he ability of
23    Alameda, the crypto hedge fund within the FTX Group, to borrow funds held at
24    FTX.com to be utilized for its own trading or investments without any effective limits.”
25          55.    Further, Ray stated “we know” that “customer assets from FTX.com were
26    commingled with assets from the Alameda trading platform,” that Alameda “used client
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                                   CLASS ACTION COMPLAINT
     Case 3:22-cv-01981-BEN-WVG Document 1 Filed 12/14/22 PageID.15 Page 15 of 31




1     funds to engage in margin trading which exposed customer funds to massive losses,” and
2     that “loans and other payments were made to insiders in excess of $1 billion.”
3           56.    On November 10th, in the midst of FTX’s collapse, Bankman-Fried
4     admitted to culpability in a series of Twitter exchanges with reporters and investors:
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12          57.    In the same series of tweets, Bankman-Fried blamed “a poor internal
13    labeling of bank-related accounts.” When asked how FTX customer deposits ended up in
14    Alameda’s accounts, Bankman responded that his exchange platform did not originally
15    have a bank account, so customers were directed to wire money to Alameda’s account
16    with Silvergate in exchange for the commodity assets on FTX.
17          58.    According to Bankman-Fried, executives at the company “forgot” about
18    this irregular depositing arrangement right up until the company imploded: “[I]t looks
19    like people wired $8b to Alameda and ‘oh god we basically forgot about the stub
20    account that corresponded to that and so it was never delivered to FTX.’”
21          59.    Similarly, in a recent interview, Bankman-Fried sought to downplay his
22    conduct as an error or oversight:
23          There was a F*** up, I was incorrect on Alameda’s balances on FTX by a fairly
24          large number, an embarrassingly large one and it was because of a, like, very
25          poorly labeled accounting thing, which was a historical artifact of a time before
26          FTX had bank accounts and the result of that was basically there was a time back
27          yonder when people would wire money to Alameda and then actually credited on
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                                  CLASS ACTION COMPLAINT
     Case 3:22-cv-01981-BEN-WVG Document 1 Filed 12/14/22 PageID.16 Page 16 of 31




1           FTX. This . . . got screwed up and that was like a pretty big miss and that meant
2           Alameda was substantially more levered than I thought it was.
3           60.      Bankman-Fried also told an investor that more than $10 billion in loans
4     remains outstanding.
5           61.      By the 21st tweet in the November 10th series, Bankman-Fried was offering
6     disclaimers:
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            F.       The Fallout
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            62.      On December 12th, Bankman-Fried was arrested in the Bahamas on the
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      basis of an indictment filed by the U.S. attorney’s office for the Southern District of New
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      York. The criminal charges against Bankman-Fried include wire fraud, securities fraud,
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      money laundering, and conspiracy to commit wire fraud and securities fraud.
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            63.      On December 13th, the Securities and Exchange Commission filed a civil
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      action against Bankman-Fried for securities fraud in the Southern District of New York,
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      alleging in part:
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                   “[F]rom the start, Bankman-Fried improperly diverted customer assets to
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                     his privately-held crypto hedge fund . . . and then used those customer funds
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                     to make undisclosed venture investments, lavish real estate purchases, and
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                     large political donations” and “sank billions of dollars of customer funds
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                     into speculative venture investments.”
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                                    CLASS ACTION COMPLAINT
     Case 3:22-cv-01981-BEN-WVG Document 1 Filed 12/14/22 PageID.17 Page 17 of 31




1                  “Bankman-Fried diverted FTX customer funds to Alameda in essentially
2                    two ways: (1) by directing FTX customers to deposit fiat currency (e.g.,
3                    U.S. Dollars) into bank accounts controlled by Alameda; and (2) by
4                    enabling Alameda to draw down from a virtually limitless ‘line of credit’ at
5                    FTX, which was funded by FTX customer assets.”
6                  “The FTX funds transferred to Alameda were used not only for Alameda’s
7                    proprietary trading, but also to fund loans to FTX executives, including
8                    Bankman-Fried himself, and to fund personal real estate purchases.
9                    Between March 2020 and September 2022, Bankman-Fried executed
10                   promissory notes for loans from Alameda totaling more than $1.338 billion,
11                   including two instances in which Bankman-Fried was both the borrower in
12                   his individual capacity and the lender in his capacity as CEO of Alameda.”
13                 “Bankman-Fried also used commingled funds from Alameda to make large
14                   political donations and to purchase tens of millions of dollars in Bahamian
15                   real estate for himself, his parents, and other FTX executives.”
16                 “[O]n or about July 22, 2022, Bankman-Fried loaned himself $136 million.”
17          64.      Also on December 13th, the Commodity Futures Trading Commission filed
18    a complaint against Bankman-Fried, FTX, and Alameda containing similar allegations
19    concerning the scheme.
20          65.      The same day, John J. Ray (who, as noted, serves as FTX’s CEO in
21    bankruptcy) testified to the House Financial Services Committee that, despite the
22    relatively new cryptocurrency markets involved, FTX committed “really old-fashioned
23    embezzlement. This is just taking money from customers and using it for your own
24    purpose. Not sophisticated at all—sophisticated, perhaps, in the way they were able to
25    sort of hide it from people, frankly, right in front of their eyes.”
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                                    CLASS ACTION COMPLAINT
     Case 3:22-cv-01981-BEN-WVG Document 1 Filed 12/14/22 PageID.18 Page 18 of 31




1            G.     Silvergate’s Complicity in the FTX Scheme
2            66.    Following FTX’s collapse, significant questions about Silvergate’s role in
3     the failed FTX crypto enterprise have been raised both on Wall Street and in Congress.
4            67.    On November 15th, Marcus Aurelius Value, an investment research firm,
5     tweeted that “[r]ecently subpoenaed Silvergate bank records reveal $425 million in
6     transfers from $SI crypto bank accounts to South American money launderers. Affidavit
7     from investigation into crypto crime ring linked to smugglers/drug traffickers.”
8            68.    On November 17th, the investment newsletter The Bear Cave released a
9     report entitled “The Great Crypto Collapse” that discussed in part Silvergate’s
10    involvement in crypto markets. The report notes an “alarming” August 2022 forfeiture
11    application for probable cause filed in Broward County, Florida that asserts Silvergate’s
12    link to a money laundering operation. According to that court filing, portions of which
13    the report reproduces, “Records produced by Silvergate Bank found: (i) During the
14    period of September 2021 to June 2022 ten companies had transferred a total of over
15    $425 million dollars off these cryptocurrency trading platforms into accounts held at
16    different US banks. (ii) The accounts were receiving funds in the same pattern as those
17    . . . used to facilitate the laundering of illicit funds.”
18           69.    On December 1st, The Bear Cave issued a further report raising additional
19    concerns about Silvergate’s role in illegal transfers related to crypto currency. That
20    report highlights a July 2021 plea agreement filed in the Middle District of Florida
21    stating that the convicted defendant, Joel Greenberg, wired “$200,000 from the account
22    of the Tax Collector’s Office at Florida Capital Bank to Silvergate Bank” in order to buy
23    cryptocurrency for himself. “Greenberg quickly spent the $200,000 in multiple
24    purchases of cryptocurrency,” the plea agreement states. “Greenberg engaged in more
25    than 40 transactions over the course of about four days” and then withdrew almost all of
26    the cryptocurrency from the Silvergate account.
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                                     CLASS ACTION COMPLAINT
     Case 3:22-cv-01981-BEN-WVG Document 1 Filed 12/14/22 PageID.19 Page 19 of 31




1           70.    On December 5th, investment bank Morgan Stanley downgraded
2     Silvergate’s investment rating, explaining that Silvergate’s ability to make money may
3     be impaired by the continued stress in crypto markets caused by FTX’s bankruptcy.
4           71.    Silvergate also faces Congressional inquiries. A December 5th letter signed
5     by Sens. Elizabeth Warren (D-MA) and John Kennedy (R-LA) and by Rep. Roger W.
6     Marshall (R-KS) posed a series of questions to Defendant Alan Lane regarding
7     Silvergate’s relationship with the FTX complex, after noting the direct funds transfers
8     from FTX’s client account at Silvergate to the accounts of Alameda and other entities
9     under Bankman-Fried’s control. Silvergate’s “involvement in the transfer of FTX
10    customer funds to Alameda reveals what appears to be an egregious failure of your
11    bank’s responsibility to monitor . . . suspicious financial activity,” the letter states. In
12    expressing concern over Silvergate’s “role in facilitating the improper transfer of FTX
13    customer funds to Alameda,” the letter notes that “Silvergate’s failure to take adequate
14    notice of this scheme suggests that it may have failed to implement or maintain an
15    effective anti-money laundering program.”
16          72.    A subsequent December 7th letter to Federal Reserve Chair Jerome Powell
17    from Senators Warren and Tina Smith (D-MN) highlights an $11.5 million investment
18    that Alameda made in Moonstone Bank, an amount “more than double the bank’s worth
19    at the time.” The investment could be seen as a move by FTX to gain access to the bank
20    without owning a U.S. banking license. A former president of the Independent
21    Community Bankers of America is quoted in the letter as saying that “[t]he fact that an
22    offshore hedge fund that was basically a crypto firm was buying a stake in a tiny bank
23    for multiples of its stated book value should have raised massive red flags.”
24                 1.     Background on Silvergate Bank
25          73.    Founded in 1988 as an industrial loan company, Silvergate, a member of the
26    Federal Reserve, was once a small, community bank with three branches in Southern
27    California. Its stock publicly trades on the New York Stock Exchange under the symbol
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                                    CLASS ACTION COMPLAINT
     Case 3:22-cv-01981-BEN-WVG Document 1 Filed 12/14/22 PageID.20 Page 20 of 31




1     SI. Silvergate historically provided traditional financial services including commercial
2     banking, business lending, commercial and residential real estate lending and mortgage
3     warehouse lending, funded primarily by interest-bearing deposits and borrowing.
4           74.    In 2013 Silvergate shifted its focus to digital currency. By 2018 “the
5     majority” of Silvergate’s funding came from “non interest bearing deposits associated
6     with clients in the digital currency industry.” With its initial public offering, Silvergate
7     touted itself as the “leading provider of innovative financial infrastructure solutions and
8     services to participants in the nascent and expanding digital currency industry.”
9           75.    Further committing to its shift in business plan, in mid-2019, Silvergate
10    sold its small business lending division “to increase its focus on its digital currency
11    initiative and its specialty lending competencies.” It also sold off two of its retail
12    banking branches to focus more on crypto currencies. CEO and Defendant Alan Lane
13    said Silvergate was “all in” on crypto.
14          76.    As part of this digital currency initiative, in the first quarter of 2018,
15    Silvergate introduced the “Silvergate Exchange Network” or “SEN”—a “proprietary,
16    virtually instantaneous payment network for participants in the digital currency
17    industry.” The SEN allows cryptocurrency investors and crypto exchanges who bank at
18    Silvergate to transfer money instantly, 24/7, which contrasts with wire transfers or ACH
19    transactions outside the bank, which can take hours or days to complete.
20          77.    The SEN’s capabilities make Silvergate attractive to crypto investors and
21    exchanges as a de facto clearinghouse. Crypto exchanges and crypto investors who bank
22    at Silvergate can instantly transfer money around the clock among each other’s accounts.
23          78.    Silvergate, as one of the few banks enabling customers to move U.S. dollars
24    onto crypto exchanges, fueled by its instantaneous SEN platform, became “the go-to
25    bank for the cryptocurrency industry,” according to its website.
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                                   CLASS ACTION COMPLAINT
     Case 3:22-cv-01981-BEN-WVG Document 1 Filed 12/14/22 PageID.21 Page 21 of 31




1                  2.    Silvergate’s Mutual Interests and Alignment with FTX/Alameda
2           79.    FTX/Alameda was one of Silvergate’s most important customers, and their
3     business operations and interests were tightly entwined. Silvergate profited from
4     deposits by digital-asset customers, which grew exponentially as FTX’s own business
5     expanded. Out of Silvergate’s approximately 1,500 customers, FTX alone accounted for
6     approximately 10% of Silvergate’s deposits.
7           80.    Until its collapse, Silvergate’s website even showed an endorsement from
8     Bankman-Fraud stating that “[l]ife as a crypto firm can be divided up into before
9     Silvergate and after Silvergate—it’s hard to overstate how much it revolutionized
10    banking for blockchain companies.”
11          81.    Silvergate had a strong incentive to keep its knowledge of the irregularities
12    of the FTX/Alameda scheme to itself. Silvergate earned increased profits in conjunction
13    with the accelerating use by customers of the FTX exchange platform and app.
14    Silvergate earned income from transaction fees as well as from investing capital derived
15    from its FTX accounts.
16          82.    Silvergate held its initial public offering on November 7, 2019. Before it
17    went public and retained FTX as a client in 2019, Silvergate had an annual net income of
18    $7.6 million. By 2021 its net annual income had increased to $75.5 million. Silvergate’s
19    business and profits grew in tandem with those of FTX and Alameda.
20          83.    After closing at $12.50 per share on the day of its IPO, the price of
21    Silvergate stock skyrocketed to $219.75 per share as of November 15, 2021. By
22    December 9, 2022, following FTX’s collapse, Silvergate shares had dropped back down
23    to $21.43.
24          84.    In a public letter issued December 5, 2022, Lane acknowledged “the
25    apparent misuse of customer assets and other lapses of judgment by FTX and Alameda
26    Research.”
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                                  CLASS ACTION COMPLAINT
     Case 3:22-cv-01981-BEN-WVG Document 1 Filed 12/14/22 PageID.22 Page 22 of 31




1                  3.     Silvergate’s Knowledge and Participation in the FTX Fraud
2           85.    Silvergate’s actions and inaction were integral to Bankman-Fried’s
3     enterprise. Numerous accounts held by his companies—including FTX Ltd., FTX US,
4     and Alameda—were held at Silvergate Bank. Bankman-Fraud’s fraud and the financial
5     details concerning his FTX/Alameda companies occurred in plain sight of Silvergate.
6           86.    As discussed above, federal law required Silvergate and Lane to monitor
7     FTX/Alameda for anomalous or suspicious behavior, and upon discovering signs of
8     fraud, money laundering or other mismanagement or malfeasance, to stop doing business
9     with FTX/Alameda and report the red flags.1
10          87.    Silvergate’s duty of due diligence in relation to FTX/Alameda was
11    especially strong because Silvergate advertised Bankman-Fried on its website.
12          88.    Lane acknowledged these duties, stating that, “For each and every account,
13    these laws require us to determine the beneficial owner, the source of funds, and the
14    purpose and expected use of funds. Silvergate also monitors transaction activity for
15    every account and identifies activity outside of the expected usage.”
16          89.    Among other facts that triggered enhanced due diligence obligations,
17    Defendants knew that cryptocurrency trading has repeatedly presented an opportunity
18    for fraud. They therefore should have applied heightened scrutiny to the related-party
19    transactions, speculation in novel, risky crypto assets and other atypical FTX/Alameda
20    activities and processes occurring in Silvergate’s accounts.
21          90.    Defendants breached their know-your-customer and anti-money laundering
22    duties with respect to FTX/Alameda. They either failed to establish and maintain an
23    adequate due diligence program or failed to properly execute such a program.
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       Plaintiff’s claims are not predicated on whether Silvergate filed or failed to file a
27    Suspicious Activity Report pursuant to the Bank Secrecy Act.
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                                   CLASS ACTION COMPLAINT
     Case 3:22-cv-01981-BEN-WVG Document 1 Filed 12/14/22 PageID.23 Page 23 of 31




1           91.      Because red flags from the FTX scheme abounded, even ordinary due
2     diligence—not limited to the enhanced scrutiny required—would have revealed
3     suspicious account activities.
4           92.      As noted above, the FFIEC Manual describes certain “red flags” that
5     indicate possible money laundering or other misconduct, for which banks must monitor.
6     Included in the FFIEC Manual’s list are the following “red flags,” all of which were
7     present in the transactions and activity in the FTX/Alameda accounts held at Silvergate:
8                  “Unusual transfers of funds occur among related accounts or among
9                    accounts that involve the same or related principals.”
10                 “Funds transfer activity is unexplained, repetitive, or shows unusual
11                   patterns.”
12                 “Many funds transfers are sent in large, round dollar, hundred dollar, or
13                   thousand dollar amounts.”
14                 “Frequent involvement of multiple jurisdictions or beneficiaries located in
15                   higher-risk offshore financial centers.”
16                 “Funds transfer activity occurs to or from a financial institution located in a
17                   higher risk jurisdiction distant from the customer’s operations.”
18                 “A foreign correspondent bank exceeds the expected volume in its client
19                   profile for funds transfers, or an individual company exhibits a high volume
20                   and pattern of funds transfers that is inconsistent with its normal business
21                   activity.”
22                 “Customer uses a personal account for business purposes.”
23                 “Unusual use of trust funds in business transactions or other financial
24                   activity.”
25          93.      Those are not the only red flags relevant to FTX/Alameda’s operations and
26    transactions. Despite widespread advertising in the United States, FTX never made any
27    attempt to comply with U.S. securities laws, raising immediate questions about FTX’s
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                                    CLASS ACTION COMPLAINT
     Case 3:22-cv-01981-BEN-WVG Document 1 Filed 12/14/22 PageID.24 Page 24 of 31




1     civil and criminal exposure and attendant risks to Silvergate. Neither FTT nor any other
2     FTX crypto asset was ever registered with any U.S. jurisdiction or regulatory authority.
3           94.   Nor did FTX/Alameda ever have financial statements audited or show
4     Silvergate any audited financial statements. That omission, standing alone, was
5     extremely suspicious and should have been reported to law enforcement.
6           95.   Moreover, Silvergate accepted several billion dollars from FTX customers,
7     intended to be lodged or traded on the FTX crypto exchange, for deposit into an account
8     held by a separate entity, Bankman-Fried’s hedge fund Alameda. This massive
9     commingling of funds was carried out via transactions that Silvergate’s internal
10    monitoring systems should have brought to the attention of the bank’s compliance and
11    risk management personnel.
12          96.   It also was apparent to Defendants that numerous wires sent to Bankman-
13    Fried’s Alameda trading account actually were earmarked for deposit to FTX for trading
14    on its exchange. It is highly unusual for a hedge fund to receive the high volume of
15    relatively small deposits, from a large number of distinct individuals, that Alameda
16    received through its account at Silvergate. The bank nonetheless permitted what were
17    clearly incoming investor funds, denominated in miscellaneous amounts, to be deposited
18    with Bankman-Fried’s own hedge fund and commingled with Alameda’s assets.
19          97.   Further, the increasing and uncapped loan “margin” that FTX extended to
20    Alameda, through their respective Silvergate accounts, relied on impermissible related-
21    party transactions that the bank repeatedly knew about and processed.
22          98.   In still another suspect related-party transaction, Bankman-Fried made
23    Alameda a “licensor” to FTX such that FTX paid approximately $400 million in investor
24    funds to Alameda, through their Silvergate accounts, purportedly for technology that
25    would be used to optimize the FTX.com exchange platform and app.
26          99.   Defendants’ failures to adequately monitor and stop the fraudulent activities
27    of FTX/Alameda, and Defendants’ acts and omissions directly in furtherance of this
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                                  CLASS ACTION COMPLAINT
     Case 3:22-cv-01981-BEN-WVG Document 1 Filed 12/14/22 PageID.25 Page 25 of 31




1     scheme, carried out through Silvergate bank accounts, were the cause of the investment
2     losses of Plaintiff and class members.
3                              AGENTS AND CO-CONSPIRATORS
4           100. At all relevant times, each of Silvergate, Bankman-Fried and Lane was a
5     principal, agent, joint venturer, partner or affiliate of Silvergate, Bankman-Fried and
6     Lane. In doing the acts alleged herein, Silvergate, Bankman-Fried and Lane acted within
7     the course and scope of that principal, agent, joint venture, partnership or affiliate
8     relationship. Silvergate, Bankman-Fried and Lane had mutual knowledge of each other’s
9     wrongdoing; ratified, approved, joined in, acquiesced, or authorized the wrongful acts of
10    Silvergate, Bankman-Fried and Lane; and retained the benefits of those wrongful acts.
11          101. At all relevant times, each of Silvergate, Bankman-Fried and Lane was a
12    co-conspirator of Silvergate, Bankman-Fried and Lane. Silvergate and Lane aided and
13    abetted, encouraged and substantially assisted Bankman-Fried in jointly perpetrating a
14    fraudulent scheme upon Plaintiff and the investor class. In taking action, as alleged
15    herein, to aid, abet, encourage and substantially assist the commissions of the wrongful
16    acts, omissions and other misconduct set forth herein, Defendants acted with an
17    awareness of their wrongdoing and realized that their conduct would substantially aid
18    the accomplishment of their illegal design.
19                     TOLLING OF THE STATUTES OF LIMITATIONS
20          102. Defendants Silvergate and Lane fraudulently concealed from Plaintiff and
21    the other investors the true nature of the FTX investment enterprise. Though aware of
22    the illegal FTX/Alameda scheme and its injurious effects, Defendants did not take any
23    action to stop or report it, but instead continued accepting the deposits and executing the
24    transfer and lending transactions upon which the scheme relied.
25          103. Silvergate and Lane were aware that FTX investors like Plaintiff did not
26    know about the FTX/Alameda investment fraud. Silvergate and Lane had superior and
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                                   CLASS ACTION COMPLAINT
     Case 3:22-cv-01981-BEN-WVG Document 1 Filed 12/14/22 PageID.26 Page 26 of 31




1     exclusive knowledge of that fraud. Despite reasonable diligence on their part, Plaintiff
2     was kept ignorant by these Defendants of the factual bases for these claims for relief.
3           104. Plaintiff did not discover, and exercising reasonable diligence could not
4     have discovered, the facts establishing Defendants’ violations or the harm caused
5     thereby until FTX’s implosion in early November 2022. Plaintiff learned of the relevant
6     actions and violations of FTX/Alameda, Silvergate and Lane through media coverage
7     and FTX’s bankruptcy filing.
8           105. Because Plaintiff and the other class members could not have reasonably
9     discovered the facts constituting Silvergate’s and Lane’s violations until November
10    2022, all applicable statutes of limitation were tolled until then.
11                               CLASS ACTION ALLEGATIONS
12          106. Plaintiff sues on his own behalf and on behalf of all other persons similarly
13    situated under Federal Rules of Civil Procedure 23(a) and (b)(3), on behalf of a class of
14    all persons who, as of November 11, 2022, had legal title to any fiat or cryptocurrency
15    deposited or invested with FTX, including from the FTX.com, FTX US and FTX
16    international platforms.
17          107. Excluded from the class are Silvergate’s employees, affiliates, legal
18    representatives, predecessors, successors or assigns; any entity in which Silvergate has a
19    controlling interest or which has a controlling interest in Silvergate; the immediate
20    family members of Alan Lane; and the judicial officers to whom this litigation is
21    assigned as well as their staff and immediate family members.
22          108. Numerosity. The class members are too numerous to be practicably joined.
23    The class members are identifiable from information and records in the possession,
24    custody, or control of Silvergate. Notice of this action can be readily provided to all
25    members of the class.
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                                   CLASS ACTION COMPLAINT
     Case 3:22-cv-01981-BEN-WVG Document 1 Filed 12/14/22 PageID.27 Page 27 of 31




1           109. Typicality. Plaintiff’s claims are typical of the claims of other members of
2     the class. Plaintiff and each class member invested in the FTX investments at issue and
3     was subject to the wrongful conduct alleged in this complaint.
4           110. Adequacy of Representation. Plaintiff is a member of the class and will
5     fairly and adequately represent and protect its interests. Plaintiff has no interests contrary
6     to or in conflict with the interests of the other class members.
7           111. Plaintiff’s counsel are competent and experienced in class action and
8     investment fraud litigation and will pursue this action vigorously.
9           112. Commonality and Predominance. Common questions of fact and law exist
10    as to all members of the class and predominate over any questions pertaining to
11    individual class members. Among the questions common to the class are:
12                 a.     Whether Bankman-Fried committed fraud or breached duties to
13    Plaintiff and members of the class;
14                 b.     Whether Silvergate aided and abetted, joined and/or participated in
15    Bankman-Fried’s fraud or breach of duties;
16                 c.     Whether Silvergate knowingly carried out transactions in furtherance
17    of the FTX investment scheme despite atypical banking activity and other red flags
18    indicating that Bankman-Fried, through FTX/Alameda and his other operations, was
19    committing investor fraud, breaching fiduciary duties, and misusing investor funds;
20                 d.     Whether Silvergate was unjustly enriched in consequence of its
21    wrongful conduct; and
22                 e.     Whether, in view of their investment losses, Plaintiff and the class
23    are entitled to damages or restitution.
24          113. Superiority. A class action is superior to all other available methods for the
25    fair and efficient adjudication of this controversy. Although many class members paid
26    thousands to dollars to deposit or invest assets with FTX, the cost of this litigation will
27    be high. The factual issues are complex and detailed, extend over several years and
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                                   CLASS ACTION COMPLAINT
     Case 3:22-cv-01981-BEN-WVG Document 1 Filed 12/14/22 PageID.28 Page 28 of 31




1     relate to many transactions. Absent a class action, most class members would find the
2     cost of litigating their claims individually to be prohibitively high and would have no
3     effective remedy. Class treatment will conserve resources, avoid inconsistent rulings,
4     and promote efficiency and economy of adjudication in a single court.
5                                      CLAIMS FOR RELIEF
6                                             COUNT 1
7                                    Aiding and Abetting Fraud
8                                  (Against Silvergate and Lane)
9           114. Plaintiff incorporates all of the foregoing allegations by reference.
10          115. Bankman-Fried made fraudulent misrepresentations and omissions to the
11    investing public about the nature of the FTX investments and how investor money would
12    be applied. Plaintiff and class members relied to their detriment on these
13    misrepresentations and omissions when depositing or investing assets with FTX.
14          116. Defendants knew of and substantially aided this fraud. Silvergate accepted
15    billions of dollars of irregular deposits and approved the related-party transfers, atypical
16    lending and funds commingling that marked Bankman-Fried’s fraudulent scheme. In
17    connection with providing such material assistance, Defendants were aware of their
18    essential role in the scheme and knowingly acted in furtherance of it. Defendants also
19    substantially benefited from their participation in this scheme.
20          117. As a direct and proximate result of Defendants’ aiding and abetting of fraud,
21    Plaintiff and class members have been damaged in an amount to be determined at trial
22                                            COUNT 2
23                        Aiding and Abetting Breach of Fiduciary Duty
24                                 (Against Silvergate and Lane)
25          118. Plaintiff incorporates all of the foregoing allegations by reference.
26          119. At all relevant times, Bankman-Fried was the controlling owner and/or
27    CEO of the FTX companies. By reason of his controlling position, actions and direct and
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                                   CLASS ACTION COMPLAINT
     Case 3:22-cv-01981-BEN-WVG Document 1 Filed 12/14/22 PageID.29 Page 29 of 31




1     indirect representations to Plaintiff and class members, and because they deposited funds
2     into Bankman-Fried’s control with the understanding that he would act in accordance
3     with his promises in regard to the use of such funds, Bankman-Fried owed investors the
4     fiduciary duties of loyalty and care and to deal honestly and in good faith. Nevertheless,
5     Bankman-Fried breached fiduciary duties he owed to Plaintiff and class members.
6           120. Through their knowledge of FTX/Alameda’s business model and banking
7     activity, Defendants knew that Bankman-Fried owed fiduciary duties to investors, such
8     as Plaintiff. Defendants substantially assisted Bankman-Fried’s breaches of fiduciary
9     duty while knowing he was breaching those duties. Bankman-Fried’s breaches of duty
10    were enabled by and would not have been possible but for Defendants’ relevant actions
11    and inaction.
12          121. As a direct and proximate result of Defendants’ aiding and abetting of
13    breach of fiduciary duty, Plaintiff and class members have been damaged in an amount
14    to be determined at trial.
15                                             COUNT 3
16                                       Unjust Enrichment
17                                       (Against Silvergate)
18          122. Plaintiff incorporates all of the foregoing allegations by reference.
19          123. Plaintiff lacks an adequate remedy at law.
20          124. Plaintiff and the other class members conferred benefits on Silvergate by
21    depositing funds into and using the FTX exchange platforms.
22          125. Silvergate acquired ill-gotten gain, including in the form of revenues,
23    derived from Plaintiff’s and the other class members’ funding and use of the FTX
24    exchange platforms.
25          126. Silvergate condoned and furthered the wrongful conduct from which it
26    benefited. Its retention of these sums is therefore inequitable.
27          127. Silvergate’s wrongful gain should be restored to Plaintiff and the class.
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                                   CLASS ACTION COMPLAINT
     Case 3:22-cv-01981-BEN-WVG Document 1 Filed 12/14/22 PageID.30 Page 30 of 31




1                                     PRAYER FOR RELIEF
2            WHEREFORE, Plaintiff prays for a judgment:
3                  A.     Certifying this action as a class action under Federal Rule of Civil
4     Procedure 23(a) and (b)(3), appointing Plaintiff as class representative and his attorneys
5     as class counsel under Federal Rule of Civil Procedure 23(g), and requiring Defendants
6     to pay the costs of Notice to the class;
7                  B.     Awarding damages or restitution, including pre-judgment interest,
8     upon each Count in an amount to be determined at trial;
9                  C.     Awarding reasonable attorneys’ fees and costs of litigation; and
10                 D.     Granting such other relief as the Court may deem just and proper.
11                                 DEMAND FOR JURY TRIAL
12           Plaintiff seeks a jury trial of any Counts for which a trial by jury is permitted by
13    law.
14                                                Respectfully submitted,
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16    Dated: December 14, 2022                    By: /s/ Daniel C. Girard
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                                   CLASS ACTION COMPLAINT
     Case 3:22-cv-01981-BEN-WVG Document 1 Filed 12/14/22 PageID.31 Page 31 of 31




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